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United States District Court ing l 82\3!7

Northei n District of Texas
Folt Worth Division

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UNITED states oF AMERICA § .By mm
v. » § base Number: 4:17~CR-€)47"A(Oi)
ALFREDO MARTINEZ~REY §

JUDGMENT IN A CRIMINAL CASE

The government was represented by Assistant United States Attorney J. Michaei Worley.
'l`he defendant, ALFREDO MARTINEZ-REY, Was represented by Federal Public Defender
throuin Assistant Federal Pnblic Defender Leandro Deigado.

The defendant pleaded guilty on May 5, 2017 to the one count indictment filed on April
4, 2017. Accordingly, the court ORDERS that the defendant be, and is hereby, adjudged guilty
of such count involving the following offense:

Tit}e & Section / Nature of Offense Date Offense Concluded Cnun.t
8 U,S.C. §§ 1326(a) and (b)(i) I§Eegal Reentry At`ter Deportation Fehruary 14, 201’,’ l

As pronounced and imposed on August 18, 2017, the defendant is sentenced as provided
in this judgment

The court ORDERS that the defendant immediately pay to the United States, through the
Clerl< of this Court, a special assessment of $100.00.

The court further ORDBRS that the defendant shall notify the United States Attorney for
this district Within 30 days of any change of name, residence address, or mailing address, as set
forth below, until all tines, restitution, costs, and special assessments imposed by this Judgrnent
are fuily paid lf ordered to pay restitution, the defendant shall notify the court, through the clerk
of this court, and the Attorney Generai, through the United States Attorney for this district, of
any materiai change in the defendant’s economic circumstances

IMI""RIS ONMENT

The court further ORDERS that the defendant be, and is hereby, committed to the
custody of the United States Bnreau of Prisons to be imprisoned for a tenn of 120 rnonths. The
sentence of 120 months shall run consecutively to any sentence imposed as to Case No. TRZOOG~
167078, for the offenses of Driving Under the Iniluence of Intoxicating Liquor-Actuai Physicai
Controi (Count l) and Driving Under the Intiuence With BAC of .€}8 or More (Connt 2), in the
West Mesa Justice Court in l\/lesa, Arizona and to any probation revocation sentences in Case
Nos. CR2006~143 844 and CR2007-13472 in the Maricopa County Superior Conrt in Phoenix,
Arizona.

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The defendant is remanded to the custody of the United States lviarshal.
SUPERVISED RELEASE

The court further ORDERS that, upon release from imprisonment, the defendant shall be
on supervised release for a term of three (3) years The court imposed a term of supervised
release because it Will provide an added measure of deterrence and protection based on the facts
and characteristics of the case.

Pursuant to 18 U.S.C. §3583(€1), as a condition of supervised release, upon the
completion of the sentence of imprisonment the defendant shall be surrendered by the Federal
Bureau of Prisons to a duly-authorized immigration official for deportation in accordance With
the established procedures provided by the lmrnigration and Nationality Act, 8 U.S.C. § l 101 et
seq. As a further condition of supervised release, if ordered deported the defendant shall remain
outside the United States.

In the event the defendant is not deported immediately upon release from imprisonment,
or should the defendant ever be Within the United States during any portion of the term of
supervised release, the defendant shall comply With the following conditions:

l. The defendant shall not possess illegal controlled substances
2. The defendant shall not commit another federal, state, or local crime.
3. The defendant shall cooperate in the collection of DNA as directed by the U.S. Probation

Offrcer, as authorized by the Justice for All Act of 2004

4. 'l`he defendant shall refrain from any unlawful use of a controlled substance, submitting
to one drug test Within 15 days of release from imprisonment and at least two periodic
drug tests thereafter, as directed by the probation officer pursuant to the mandatory drug
testing provision of the 1994 crime bill.

5. The defendant shall participate in a program approved by the probation officer for
treatment of narcotic or drug or alcohol dependency that Wili include testing for the
detection of substance use, abstaining from the use of alcohol and all other intoxicants
during and after completion of treatment, contributing to the costs of services rendered at
the rate of at least 325 per month.

6. The defendant shall also comply With the Standard Conditions of Supervision as
hereinafter set forth.

Standard Conditions of Sunervision
l. 'l`he defendant shall report in person to the probation office in the district to Which the
defendant is released within seventy~two (72) hours of release from the custody of the

Bureau of Prisous.

2. l`he defendant shall not possess a firearm, destructive device, or other dangerous Weapon.

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The defendant shall provide to the U.S. Probation Officer any requested financial
information

The defendant shall not leave the judicial district where the defendant is being supervised
without the permission of the Court or U.S. Probation Officer.

The defendant shall report to the U.S. Probation Officer as directed by the court or U.S.
Probation foicer and shall submit a truthful and complete written report within the first
five (5) days of each month

The defendant shall answer truthfully all inquiries by the U.S. Probation Officer and
follow the instructions of the U.S. Probat`ion Officer.

The defendant shall support his dependents and meet other family responsibilities

The defendant shall work regularly at a lawful occupation unless excused by the U.S.
Probation Officer for schooling, training, or other acceptable reasons

The defendant shall notify the probation officer at least ten (l 0) days prior to any change
in residence or employment

Tlie defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
use, distribute, or administer any narcotic or other controlled substance, or any
paraphernalia related to such substances, except as prescribed by a physician

'l`he defendant shall not frequent places where controlled substances are illegally soid,
used, distributed, or administered

The defendant shall not associate with any persons engaged in criminal activity, and shall
not associate with any person convicted of a felony unless granted permission to do so by
the U.S. Probation Officer.

The defendant shall permit a probation officer to visit him at any tirne at horne or
elsewhere and shall permit confiscation of any contraband observed in plain view by the
U.S. Probation Ot`ficer.

The defendant shall notify the probation officer within seventy~two (72) hours of being
arrested or questioned by a law enforcement officer

The defendant shall not enter into any agreement to act as an informer or a special agent
cfa law enforcement agency Without the permission of the court

As directed by the probation officer, the defendant shall notify third parties of risks that
may be occasioned by the defendants criminal record or personal history or
characteristics, and shall permit the probation officer to make such notifications and to
confirm the defendants compliance with such notification requirement

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'l`he court hereby directs the probation officer to provide defendant with a written
statement that sets forth all the conditions to which the term of supervised release is subject, as
contemplated and required by 18 U.S.C. § 3583(£).

FINE

The court did not order a fine because the defendant does not have the financial resource
or future earning capacity to pay a line

STATEMENT OF REASONS

'l`he “Staternent of Reasons” and personal information about the defendant are set forth

on the attachment to this judgment

Ul\ll'l` D STATES DlSTRl% JUDGE

Signed this the lSih day of August, 20l7.

  
  

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RETURN

l have executed the imprisonment part of this Judgment as follows:

 

 

 

Defendant delivered on , 2017 to
at , with a certified copy of this Judgment.

 

United States l\/iarshal for the
Northern District of Texas

By

 

Deputy United States l\/larshal

